












NUMBER 13-03-451-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


__________________________________________________________________


MICHAEL SMITH,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 36th District Court 


of San Patricio County, Texas.


___________________________________________________________________


MEMORANDUM OPINION



Before Justices Rodriguez, Castillo, and Garza


Opinion Per Curiam



	Appellant, MICHAEL SMITH, perfected an appeal from a judgment entered by
the 36th District Court of San Patricio County, Texas,  in cause number S-02-3295-CR.  Appellant has filed a motion to dismiss the appeal.  The motion complies with
Tex. R. App. P. 42.2(a).

	The Court, having considered the documents on file and appellant's motion to
dismiss the appeal, is of the opinion that appellant's motion to dismiss the appeal
should be granted.  Appellant's motion to dismiss the appeal is granted, and the appeal
is hereby DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.2(b).


Opinion delivered and filed this

the 20th day of November, 2003.


